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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK


  UNITED STATES SECURITIES AND EXCHANGE
  COMMISSION,
                                                               Civil No. 1:17-CV-04179-DLC
         Plaintiff,
                                                              Honorable Judge Denise L. Cote
  v.                                                          Magistrate Judge Ronald L. Ellis

  ALPINE SECURITIES CORPORATION,                                  NOTICE OF MOTION

         Defendant.


       PLEASE TAKE NOTICE that Defendant Alpine Securities Corporation (“Alpine”), by

and through undersigned counsel appearing for the limited purpose of contesting jurisdiction and

venue, pursuant to Rule 12(b)(2) and Rule 12(b)(3) of the Federal Rules of Civil Procedure,

moves this Court to Dismiss Plaintiff United States Securities and Exchange Commission’s

Complaint for Lack of Personal Jurisdiction and Improper Venue. Alpine has filed concurrently

herewith a Memorandum of Law and a Declaration in support of its Motion.

       Alpine intends to request oral argument before the Honorable Judge Denise Cote,

pursuant to Section 3(F) of the Court’s Individual Practices in Civil Cases, to take place at 500

Pearl Street, Courtroom 15B, New York, New York 10007, at the Court’s first convenience.

       In accordance with the Southern District Court’s Local Rule 6.1(b), any answering

memorandum and opposing affidavits shall be served on or before August 17, 2017, and any

reply papers shall be served on or before August 24, 2017.




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DATED this 3rd day of August, 2017.

                                  /s/ Brent R. Baker
                                  Brent R. Baker (BB 8285)
                                  Aaron D. Lebenta (Pro Hac Vice Pending)
                                  Jonathan D. Bletzacker (Pro Hac Vice Pending)
                                  CLYDE SNOW & SESSIONS
                                  One Utah Center, 13th Floor
                                  201 South Main Street
                                  Salt Lake City, Utah 84111-2216
                                  Telephone 801.322.2516
                                  Facsimile 801.521.6280
                                  Email: brb@clydesnow.com
                                          adl@clydesnow.com
                                          jdb@clydesnow.com

                                  Counsel for Alpine Securities Corporation




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